            Case:
   AO 106 (Rev. 06/09)4:23-mj-09100-RHH               Doc. #:
                        Application for a Search Warrant        1    Filed: 05/12/23         Page: 1 of 20 PageID #: 1

                                UNITED STATES DISTRICT COURT
                                                                 for the
                                                       Eastern District of Missouri
                 In the Matter of the Search of                      )
                                                                     )             No. 4:23 MJ 9100 RHH
INFORMATION ASSOCIATED Profile name:                                 )
nascar_dee; account 44780861524                       FILED UNDER SEAL
https://www.instagram.com/nascar_dee
THAT IS STORED AT PREMISES CONTROLLED BY SIGNED AND SUBMITTED TO THE COURT FOR FILING BY
                                           RELIABLE ELECTRONIC MEANS
META PLATFORMS, INC. d/b/a INSTAGRAM, LLC.
                                      APPLICATION FOR A SEARCH WARRANT
       I, Wesley McCormick            , a federal law enforcement officer or an attorney for the government request a
   search warrant and state under penalty of perjury that I have reason to believe that on the following property:

                                                         See Attachment A

   located in the      Northern                   District of California               , there is now concealed

                                                             See Attachment B

   The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                      xx evidence of a crime;
                      xx contraband, fruits of crime, or other items illegally possessed;
                      xx property designed for use, intended for use, or used in committing a crime;
                          a person to be arrested or a person who is unlawfully restrained.
   The search is related to a violation of:
                Code Section                                                       Offense Description
       Title    Section
            Title 18, United States Code, Sections 2119 and 924(c)
            The application is based on these facts:

                     SEE ATTACHED AFFIDAVIT WHICH IS INCORPORATED HEREIN BY REFERENCE.

                        T     Continued on the attached sheet.
                        “     Delayed notice of _____ days (give exact ending date if more than 30 days:                  _______) is
                      requested under 18 U.S.C. ' 3103a, the basis of which is set forth on the attached sheet.

            I state under the penalty of perjury that the following is true and correct.


                                                                                            Applicant's signature
                                                                                            Wesley McCormick, TFO, ATF
                                                                                            Printed name and title
   Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal Rules of Criminal Procedure 4.1 and 41.

   Date:       May 12, 2023
                                                                                     Judge's signature


   City and State:        St. Louis, Missouri                            Honorable Rodney H. Holmes, U.S. Magistrate Judge
                                                                                     Printed name and title
                                                                              AUSA: Jennifer Szczucinski
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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

IN THE MATTER OF THE SEARCH OF
INFORMATION ASSOCIATED WITH                          No. 4:23 MJ 9100 RHH
nascar_dee; account 44780861524
https://www.instagram.com/nascar_dee
                                                      FILED UNDER SEAL
THAT IS STORED AT PREMISES
CONTROLLED BY META PLATFORMS,                   SIGNED AND SUBMITTED TO THE COURT FOR
INC. d/b/a INSTAGRAM, LLC                       FILING BY RELIABLE ELECTRONIC MEANS

                            AFFIDAVIT IN SUPPORT OF
                     AN APPLICATION FOR A SEARCH WARRANT

       I, Wesley McCormick, a Task Force Officer with the Bureau of Alcohol, Tobacco,

Firearms and Explosives, being first duly sworn, hereby depose and state as follows:

                     INTRODUCTION AND AGENT BACKGROUND

       1.     I make this affidavit in support of an application for a search warrant pursuant to

18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) and Federal Criminal Procedure 41 for

information associated with “nascar_dee” (the “Subject Account”) that is stored at premises

owned, maintained, controlled, or operated by Instagram, LLC, (“Instagram”) a social-

networking company owned by Meta Platforms, Inc. and headquartered in San Francisco,

California. The information to be searched is described in the following paragraphs and in

Attachment A. The requested warrant would require Instagram to disclose to the United States

records and other information in its possession, including the contents of communications,

pertaining to the subscriber or customer associated with the subject account as further described

in Attachment B.

       2.     I am a Task Force Officer with the Bureau of Alcohol, Tobacco, Firearms and

Explosives (ATF), and have been since May 2022. I have been employed by the St. Louis
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Metropolitan Police Department since October 2015. I am currently assigned to ATF’s St. Louis

Group IV in the Kansas City Field Division, and I am responsible for investigating federal

firearms violations and federal controlled substance violations. I have conducted numerous

investigations involving both the illegal narcotics and the criminal possession and use of

firearms.

       3.     The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. This affidavit is intended

to show merely that there is sufficient probable cause for the requested warrant and does not set

forth all of my knowledge about this matter.

       4.     Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of Title 18, United States Code, Sections 2119

(carjacking) and 924(c) (brandishing a firearm in connection with crime of violence), have been

committed by JEREMIAH PEARSON, TYRELL COMBS, DAMORIEON SIMMS, and

juvenile suspects M.L., T.C., and D.V. There is also probable cause to search the information

described in Attachment A for evidence of these crimes and contraband or fruits of these crimes,

as described in Attachment B.

                                  LOCATION TO BE SEARCHED

       5.     The location to be searched is:

       User name: nascar_dee Instagram account: 44780861524 (hereinafter referred to as

“Subject Account”) located at https://www.instagram.com/nascar_dee, described in Attachment

A. The items to be reviewed and seized by the United States are described in Attachment Part II

of Attachment B.
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                                          JURISDICTION

        6.      This Court has jurisdiction to issue the requested warrant because it is “a court of

competent jurisdiction” as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(a), (b)(1)(A), &

(c)(1)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction

over the offense being investigated.”

                        BACKGROUND RELATING TO INSTAGRAM

        7.      The Internet is in part a computer communications network using interstate and

foreign telephone and communication lines to transmit data streams, including data streams used

to provide a means of communication from one computer to another and used to store, transfer

and receive data and image files.

        8.      An “Internet Protocol” (IP) address is a unique series of numbers, separated by a

period, that identifies each computer using, or connected to, the Internet over a network. An IP

address permits a computer (or other digital device) to communicate with other devices via the

Internet. The IP addresses aids in identifying the location of digital devices that are connected to

the Internet so that they can be differentiated from other devices. As a mailing address allows a

sender to mail a letter, a remote computer uses an IP address to communicate with other

computers.

        9.      An “Internet Service Provider” (ISP) is an entity that provides access to the

Internet to its subscribers.

        10.     The term “remote computing service” means the provision to the public of

computer storage or processing services by means of an electronic communications system.
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       11.     Instagram, LLC is a business and company that operates as a remote computing

service, a provider of electronic communications services through ISPs.

       12.     From my review of publicly available information provided by Instagram about

its service, including Instagram’s “Privacy Policy,” I am aware of the following about Instagram

and about the information collected and retained by Instagram.

       13.     Instagram owns and operates a free-access social-networking website of the same

name that can be accessed at http://www.instagram.com. Instagram allows its users to create

their own profile pages, which can include a short biography, a photo of themselves, and other

information. Users can access Instagram through the Instagram website or by using a special

electronic application (“app”) created by the company that allows users to access the service

through a mobile device.

       14.     Instagram permits users to post photos to their profiles on Instagram and

otherwise share photos with others on Instagram, as well as certain other social-media services,

including Flickr, Facebook, and Twitter. When posting or sharing a photo on Instagram, a user

can add to the photo: a caption; various “tags” that can be used to search for the photo (e.g., a

user made add the tag #vw so that people interested in Volkswagen vehicles can search for and

find the photo); location information; and other information. A user can also apply a variety of

“filters” or other visual effects that modify the look of the posted photos. In addition, Instagram

allows users to make comments on posted photos, including photos that the user posts or photos

posted by other users of Instagram. Users can also “like” photos.

       15.      Upon creating an Instagram account, an Instagram user must create a unique

Instagram username and an account password. This information is collected and maintained by

Instagram.
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        16.     Instagram asks users to provide basic identity and contact information upon

registration and also allows users to provide additional identity information for their user profile.

This information may include the user’s full name, e-mail addresses, and phone numbers, as well

as potentially other personal information provided directly by the user to Instagram. Once an

account is created, users may also adjust various privacy and account settings for the account on

Instagram. Instagram collects and maintains this information.

        17.     Instagram allows users to have “friends,” which are other individuals with whom

the user can share information without making the information public. Friends on Instagram

may come from either contact lists maintained by the user, other third-party social media

websites and information, or searches conducted by the user on Instagram profiles. Instagram

collects and maintains this information.

        18.     Instagram also allows users to “follow” another user, which means that they

receive updates about posts made by the other user. Users may also “unfollow” users, that is,

stop following them or block the, which prevents the blocked user from following that user.

        19.     Instagram allow users to post and share various types of user content, including

photos, videos, captions, comments, and other materials. Instagram collects and maintains user

content that users post to Instagram or share through Instagram.

        20.     Instagram users may send photos and videos to select individuals or groups via

Instagram Direct. Information sent via Instagram Direct does not appear in a user’s feed, search

history, or profile.

        21.     Users on Instagram may also search Instagram for other users or particular types

of photos or other content.
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       22.     For each user, Instagram also collects and retains information, called “log file”

information, every time a user requests access to Instagram, whether through a web page or

through an app. Among the log file information that Instagram’s servers automatically record is

the particular web requests, any Internet Protocol (“IP) address associated with the request, type

of browser used, any referring/exit web pages and associated URLs, pages viewed, dates and

times of access, and other information.

       23.     Instagram also collects and maintains “cookies,” which are small text files

containing a string of numbers that are placed on a user’s computer or mobile device and that

allows Instagram to collect information about how a user uses Instagram.           For example,

Instagram uses cookies to help users navigate between pages efficiently, to remember

preferences, and to ensure advertisements are relevant to a user’s interests.

       24.     Instagram also collects information on the particular devices used to access

Instagram. In particular, Instagram may record “device identifiers,” which includes data files

and other information that may identify the particular electronic device that was used to access

Instagram.

       25.     Instagram also collects other data associated with user content. For example,

Instagram collects any “hashtags” associated with user content (i.e., keywords used), “geotags”

that mark the location of a photo and which may include latitude and longitude information,

comments on photos, and other information.

       26.     Instagram also may communicate with the user, by email or otherwise. Instagram

collects and maintains copies of communications between Instagram and the user.

       27.     As explained herein, information stored in connection with an Instagram account

may provide crucial evidence of the “who, what, why, when, where, and how” of the criminal
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conduct under investigation, thus enabling the United States to establish and prove each element

or alternatively, to exclude the innocent from further suspicion. In my training and experience,

an Instagram user’s account activity, IP log, stored electronic communications, and other data

retained by Instagram, can indicate who has used or controlled the Instagram account. This

“user attribution” evidence is analogous to the search for “indicia of occupancy” while executing

a search warrant at a residence. For example, profile contact information, direct messaging logs,

shared photos and videos, and captions (and the data associated with the foregoing, such as geo-

location, date and time) may be evidence of who used or controlled the Instagram account at a

relevant time. Further, Instagram account activity can show how and when the account was

accessed or used. For example, as described herein, Instagram logs the Internet Protocol (IP)

addresses from which users access their accounts along with the time and date. By determining

the physical location associated with the logged IP addresses, investigators can understand the

chronological and geographic context of the account access and use relating to the crime under

investigation.   Such information allows investigators to understand the geographic and

chronological context of Instagram access, use, and events relating to the crime under

investigation. Additionally, Instagram builds geo-location into some of its services. Geo-

location allows, for example, users to “tag” their location in posts and Instagram “friends” to

locate each other. This geographic and timeline information may tend to either inculpate or

exculpate the Instagram account owner. Last, Instagram account activity may provide relevant

insight into the Instagram account owner’s state of mind as it relates to the offense under

investigation. For example, information on the Instagram account may indicate the owner’s

motive and intent to commit a crime (e.g., information indicating a plan to commit a crime), or
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consciousness of guilt (e.g., deleting account information in an effort to conceal evidence from

law enforcement).

       28.     Based on the information above, the computers of Instagram are likely to contain

all the material described above with respect to the Subject Account, including stored electronic

communications and information concerning subscribers and their use of Instagram, such as

account access information, which would include information such as the IP addresses and

devices used to access the account, as well as other account information that might be used to

identify the actual user or users of the account at particular times.

                                       PROBABLE CAUSE

       29.     On February 2, 2023, at approximately 10:12 PM, St. Louis Metropolitan Police

Department (SLMPD) officers responded to a call for a carjacking that had occurred at 3706

Potomac, St. Louis, MO, located in the SLMPD’s Second District. Officers met with the victim

who advised he was unloading his vehicle, a blue 2012 Chevy Silverado, at 3706 Potomac when

an unknown dark sedan parked next to his vehicle. Three unknown black males approached him

with handguns and demanded his money and property. One of the black males struck the victim

in the face with a pistol, causing him to stumble. The black males took the victim’s vehicle keys

from his hand. The black males entered the victim’s vehicle and fled the scene followed by the

dark sedan.

       30.     The victim described the three black males as being between eighteen to late

twenties in age, wearing black hooded sweatshirts, and armed with black firearms.

       31.     Other SLMPD officers were on patrol in the College Hill Neighborhood in St.

Louis, MO and heard radio broadcasts for several robberies that occurred that evening in

SLMPD’s Second District, including the aforementioned carjacking. The officers were aware
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that there was a recent uptick in robberies in the Second District and that vehicles utilized in

these crimes had been recovered in the College Hill Neighborhood. As a result, the officers were

on high alert for the carjacked Chevy Silverado and dark sedan described as the suspect vehicle.

       32.       At approximately 10:16 PM, the officers observed the victim’s Chevy Silverado

and a gray Hyundai Elantra traveling northbound on Blair towards East Prairie. The officers

attempted to stop the vehicles and a police pursuit ensued. The Chevy Silverado and the Hyundai

Elantra separated and the officers elected to continue pursuing the Hyundai Elantra.

       33.       The Hyundai Elantra eventually became disabled in the rear of 4338 John Ave.

Officers observed a black male, later identified as TYRELL COMBS, exit the front passenger’s

seat and flee westbound on foot. Officers then observed a black male, subsequently identified as

JEREMIAH PEARSON, exit the front passenger’s seat, following COMBS. Officers pursued

COMBS and PEARSON. PEARSON was taken into custody at 4318 North Grand. While

PEARSON was running from police, he was observed holding an object that was consistent with

a firearm. When arrested PEARSON did not a have a firearm in his possession. During a

canvass of the area where PEARSON was taken into custody, a firearm was located.

       34.       COMBS evaded police during the foot pursuit, so SLMPD Canine officers were

requested to track COMBS, from the abandoned Hyundai Elantra. The track ultimately led

officers to the front door of 2130 E. Desoto. A perimeter was established, and contact was made

with a resident of the 2130 E. Desoto, who allowed officers to take COMBS into custody inside

the residence.

       35.       COMBS had lacerations to his hands consistent with jumping metal fences and

matched the physical appearance of the individual who fled from the Hyundai Elantra and
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evaded officers. Officers noted that COMBS had changed his clothing since fleeing from the

Hyundai Elantra.

       36.    Officers located the carjacked Chevy Silverado parked at 1520 E. Desoto,

abandoned. 1520 E. Desoto is the street immediately behind E. Prairie. Due to the recent

robberies, a portable police camera had been placed on E. Prairie watching 1907 E. Prairie, as

subjects associated with those robberies were associated with/seen entering that residence. At

10:20 PM, the camera footage reflects two individuals walking to the front door of the residence

at 1907 E. Prairie and entering the residence. The camera footage reflects the two subjects

walked from the alley behind 1907 E. Prairie, in the direction from where the carjacked Chevy

Silverado was located. Additionally, the subjects matched the description of the individuals who

carjacked the victim’s Chevy Silverado.

       37.    When PEARSON was taken into custody by officers his cell phone was taken as

evidence. PEARSON consented to the contents of is cell phone to be searched. PEARSON’s

cell phone and the signed consent to search was relinquished to TFO McCormick.

       38.    On February 10, 2023, TFO McCormick and additional ATF personal executed a

federal search warrant at 1907 E. Prairie, based on the above information. D.V. was located

inside the residence. Also in the residence was clothing worn by suspects during the night of the

carjacking, a firearm, and D.V.’s cellular phone, which was seized.

       39.    On February 15, 2023, TFO McCormick and ATF Special Agent (SA) Riley

O’Brien conducted an interview with PEARSON. During the interview PEARSON admitted

being involved in robberies leading up to the carjacking and being present at the carjacking.

PEARSON also implicated COMBS, DAMORIEON SIMMS, and juvenile suspects D.V.,

M.L., and T.C. as being involved in the carjacking and other robberies.
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       40.     TFO McCormick obtained federal search warrants for PEARSON, COMBS,

SIMMS, M.L., and T.C.’s Instagram accounts.

       41.     While conducting a search of the Instagram accounts TFO McCormick located

numerous messages between the suspects and an Instagram user by the name “nascar_dee” under

Instagram account 44780861524.

       42.     SA Riley O’Brien obtained a federal search warrant for D.V.’s cellular phone.

During a review of the contents of D.V.’s cellular phone, it was determined that these suspects

commonly communicated via Instagram and D.V. appeared to utilize the Instagram username

“nascar_dee” (the Subject Account).

       43.     The Subject Account is listed as private, not allowing public to view images or

videos. Based on the Instagram messages in D.V.’s cellular phone from the Subject Account,

there is strong indicia that this account is controlled by D.V. and that he is responsible for the

contents associated with it.

       44.     From my knowledge, training and experience, as well as discussions I have had

with other agents, law enforcement, and personnel familiar with computer-related investigations,

I know that it is common for individuals engaged in the criminal activities described herein to

use social networking sites such as Instagram to communicate with one another and facilitate

their criminal activities. Such communications and the facilitation of criminal activities include

the use of these applications and electronic and stored data that would identify and describe: (a)

other co-conspirators, aiders, and abettors who are participating in the illegal activities as well as

the nature and scope of the illegal activities; (b) identify dates and locations where illegal activity

has taken place or may take place in the future; (c) discussions concerning planning, operations,

the transfer of information, concerning the illegal activities described herein as well as sharing
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photographs, videos, documents, and files, (d) financial transactions and monetary transfers used

to facilitate and continue criminal activities as well as the existence and location of records, bank

accounts, and businesses pertaining to those activities; (e) sales and purchases of equipment,

materials, and goods used to aid the co-conspirators in their endeavors as well as the location and

use of assets accumulated; (f) travel, safe-houses, and locations where goods, materials and

personnel stay or are kept; and (g) the existence of other communication facilities, including

telephones, computers, e-mail and other electronic accounts used to by co-conspirators to

communicate.

       45.     Based on the foregoing, as well TFO McCormick’s training and experience and

that of other investigators and law enforcement personnel with whom TFO McCormick has

consulted, it is believed that the Subject Account will contain evidence that D.V. has violated

Title 18, United States Code, Sections 2119 (carjacking) and 924(c) (brandishing a firearm in

connection with crime of violence).

             INFORMATION TO BE SEARCHED AND THINGS TO BE SEIZED

       46.     I anticipate executing this warrant under the Electronic Communications Privacy

Act, in particular 18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A), by using the warrant

to require Instagram to disclose to the United States copies of the records and other information

(including the content of communications) particularly described in Section I of Attachment B.

Upon receipt of the information described in Section I of Attachment B, United States-authorized

persons will review that information to locate the items described in Section II of Attachment B.

                                         CONCLUSION

       47.     Based on the forgoing, I request that the Court issue the proposed search warrant.

The United States will execute this warrant by serving the warrant on Instagram. Because the
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warrant will be served on Instagram, who will then compile the requested records at a time

convenient to it, reasonable cause exists to permit the execution of the requested warrant at any

time in the day or night.

       48.     Pursuant to 18 U.S.C. § 2703(g), the presence of a law enforcement officer is not

required for the service or execution of this warrant.

       49.     I further request that the Court order that all papers in support of this application,

including the affidavit and warrant, be sealed until further order of the Court. These documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets of

the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may give targets an opportunity to flee/continue flight from prosecution,

destroy or tamper with evidence, change patterns of behavior, notify confederates, or otherwise

seriously jeopardize the investigation.

               I state under the penalty of perjury that the foregoing is true and correct.


                                                       Respectfully submitted,



                                                       Wesley McCormick
                                                       Task Force Officer
                                                       ATF

Sworn to, attested to, and affirmed before me via reliable electronic means pursuant to Federal
                                                   12
Rules of Criminal Procedure 4.1 and 41.on May __________,       2023


_________________________________________
The Honorable RODNEY H. HOLMES
UNITED STATES MAGISTRATE JUDGE
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                                     ATTACHMENT A

                                  Property to Be Searched

       This warrant applies to information associated with the Instagram profile with username:

       User    name:    nascar_dee     Instagram    account:    44780861524,      located      at

https://www.instagram.com/nascar_dee

       that is stored at premises owned, maintained, controlled, or operated by Instagram, LLC,

a company that is owned by Meta Platforms, Inc. and headquartered in Menlo Park, California.
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                                      ATTACHMENT B

                                 Particular Things to be Seized

I.     Information to be disclosed by Instagram, LLC

       To the extent that the information described in Attachment A is within the possession,

custody, or control of Instagram, LLC, including any messages, records, files, logs, or

information that have been deleted but are still available to Instagram, LLC, or have been

preserved pursuant to a request made under 18 U.S.C. § 2703(f), Instagram, LLC is required to

disclose the following information, from January 1, 2023 to March 9, 2023, to the government

for each account listed in Attachment A:

       a.      All identity and contact information, including full name, e-mail address, physical
               address (including city, state, and zip code), date of birth, phone numbers, gender,
               hometown, occupation, and other personal identifiers;
       b.      All past and current usernames associated with the account;
       c.      The dates and times at which the account and profile were created, and the
               Internet Protocol (“IP”) address at the time of sign-up;
       d.      All activity logs including IP logs and other documents showing the IP address,
               date, and time of each login to the account, as well as any other log file
               information;
       e.      All information regarding the particular device or devices used to login to or
               access the account, including all device identifier information or cookie
               information, including all information about the particular device or devices used
               to access the account and the date and time of those accesses;
       f.      All data and information associated with the profile page, including photographs,
               “bios,” and profile backgrounds and themes;
       g.      All communications or other messages sent or received by the account;
       h.      All user content created, uploaded, or shared by the account, including any
               comments made by the account on photographs or other;
       i.      All photographs and images in the user gallery for the account;
       j.      All location data associated with the account, including geotags;
       k.      All data and information that has been deleted by the user;
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       l.      A list of all of the people that the user follows on Instagram and all people who
               are following the user (i.e., the user’s “following” list and “followers” list), as
               well as any friends of the user;
       m.      A list of all users that the account has “unfollowed” or blocked;
       n.      All privacy and account settings;
       o.      All records of searches performed by the account, including all past searches
               saved by the account;
       p.      All information about connections between the account and third-party websites
               and applications; and,
       q.      All records pertaining to communications between Instagram, LLC and any
               person regarding the user or the user’s Instagram account, including contacts with
               support services, and all records of actions taken, including suspensions of the
               account.
       Instagram, LLC is hereby ordered to disclose the above information to the United
States within 14 days of the date of this warrant.
II.    Information to be seized by the government

       All information described above in Section I that constitutes fruits, evidence and

instrumentalities of violations of Title 18, United States Code, Sections 2119 and 924(c)

involving JEREMIAH PEARSON, TYRELL COMBS, M.L., DAMORIEON SIMMS, T.C.,

and D.V. from January 1, 2023 to March 9, 2023, including, for each username identified on

Attachment A, information pertaining to the following matters:

            (a) Communications between D.V. and others in furtherance of the February 2, 2023

               carjacking of the Chevy Silverado;

            (b) Any records related to the February 2, 2023 carjacking of the Chevy Silverado;

            (c) Evidence indicating how and when the Instagram account was accessed or used,

               to determine the chronological and geographic context of account access, use, and

               events relating to the crime under investigation and to the Instagram account

               owner;
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         (d) Evidence indicating the Instagram account owner’s state of mind as it relates to

            the crime under investigation;

         (e) The identity of the person(s) who created or used the user ID, including records

            that help reveal the whereabouts of such person(s).

         (f) The identity of any person(s) who communicated with the Subject Account about

            matters relating to the February 2, 2023 carjacking of the Chevy Silverado,

            including records that help reveal their whereabouts.
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                     CERTIFICATE OF AUTHENTICITY OF DOMESTIC
                      RECORDS PURSUANT TO FEDERAL RULES OF
                             EVIDENCE 902(11) AND 902(13)


        I, _________________________________, attest, under penalties of perjury by the laws

of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained in

this certification is true and correct. I am employed by Meta Platforms, Inc, (the parent company

of Instagram, LLC), and my title is _____________________________. I am qualified to

authenticate the records attached hereto because I am familiar with how the records were created,

managed, stored, and retrieved. I state that the records attached hereto are true duplicates of the

original records in the custody of Instagram, LLC. The attached records consist of

______________ [GENERALLY DESCRIBE RECORDS (pages/CDs/megabytes)]. I further

state that:


        a.      all records attached to this certificate were made at or near the time of the

occurrence of the matter set forth by, or from information transmitted by, a person with

knowledge of those matters, they were kept in the ordinary course of the regularly conducted

business activity of Instagram, LLC, and they were made by Instagram, LLC as a regular

practice; and


        b.      such records were generated by Instagram, LLC’s electronic process or system

that produces an accurate result, to wit:


                1.      the records were copied from electronic device(s), storage medium(s), or

file(s) in the custody of Instagram, LLC in a manner to ensure that they are true duplicates of the

original records; and
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               2.     the process or system is regularly verified by Instagram, LLC, and at all

times pertinent to the records certified here the process and system functioned properly and

normally.


       I further state that this certification is intended to satisfy Rules 902(11) and 902(13) of

the Federal Rules of Evidence.




Date                                 Signature
